Case 2:04-cV-02636-.]DB-tmp Document 13 Filed 05/17/05 F?age 1 of 2 Page|D 17

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FoR THE wEsTERN DISTRICT oF TENNESSEE 95 ;‘.W §7 mg .U: he
WESTERN DivISIoN ‘ ' ` ‘

 

 

JOHN MCGRAIL,
Plaintif’f`,
v. No. 04-CV-2636 B/P

METRoPoLiTAN LIFE iNsURANCE
COMPANY,

Defendant.

 

ORDER GRANTING DEFENDAN'I"S UNOPPOSED MOTION
FOR EXTENSION OF TIME

 

Def`endant Metropolitan Life Insurance Conipany having moved the Court for an extension
oftime for the parties to file their motions forjudgment on the record and their responses, Plaintif’f`s
counsel having consented thereto and for good cause Shown,

lt is hereby ordered that the parties shall have through and until May 27, 2005 to file their

motions forjudgment on the record and through and until July l 2005 to file their responses

B\M

Unit tates Judge

Date: maj 17 1005

This document entered an the docket£§heet in compliance
th nine 53 and/or?e(a) FHGP on ' ’ W‘“

 

 

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ESSEE

 

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Honorable .1. Breen
US DISTRICT COURT

